                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION



 ZANDER GROUP HOLDINGS, INC. and
 JEFFREY J. ZANDER,
                                                  Case No. 3:18-cv-00653
        Plaintiffs,
                                                  Judge Waverly D. Crenshaw, Jr.
 v.                                               Magistrate Judge Newbern

 KATZ, SAPPER & MILLER LLP, ET AL.,

        Defendants.


                                             ORDER

        The undersigned Magistrate Judge held an initial case management conference with the

parties on September 24, 2018. In the course of that conference, the parties agreed that the relief

Plaintiffs seek in this case is entirely dependent upon the outcome of another action now pending

in this Court, Acosta v. Zander Group Holdings, Inc., et al., Case No. 3:17-cv-01187. For that

reason, and by agreement of the parties, the Court ORDERS as follows:

        Defendants filed a motion to dismiss this action on grounds that are unrelated to the

outcome of the Acosta action. (Doc. No. 16.) The deadline for Plaintiffs to respond to that motion

previously set by the Court (Doc. No. 18) is EXTENDED to October 15, 2018. Defendants may

file any optional reply within 14 days of the response.

        All other aspects of this case shall be STAYED pending resolution of the motion to dismiss.

If the motion to dismiss is denied, this action shall be STAYED pending resolution of the Acosta

proceedings.




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       Counsel for Plaintiffs shall file a status report regarding the progress of the Acosta action

every ninety days, which shall be calculated from the entry of this order. Within seven days of the

resolution of the Acosta action, the parties shall file a joint motion to set a case management

conference in this case.

       It is so ORDERED.



                                                     ____________________________________
                                                     ALISTAIR E. NEWBERN
                                                     United States Magistrate Judge




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